  Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 1 of 20 PAGEID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

    TOWERCO 2013, LLC                              )   CASE NO.
    5000 Valleystone Dr.,Suite 200                 )
    Cary, NC 27519                                 )
                                                   )
                      Plaintiff,                   )
                                                   )   COMPLAINT
            vs.                                    )
                                                   )   Expedited Telecommunications Act
    BERLIN TOWNSHIP BOARD OF                       )   Proceeding
    TRUSTEES                                       )
    3271 Chesire Road                              )   Taking Claim in Violation of Fifth
    Delaware, Ohio 43015                           )     Amendment – 42 USC 1983
                                                   )   Violations of Sections 253 and 332 of the
           and                                     )     Telecommunications Act of 1996
                                                   )   Request for Preliminary and Permanent
    BERLIN TOWNSHIP, OHIO                          )     Injunction
    3271 Chesire Road                              )
    Delaware, Ohio 43015                           )   Jury Demand Included
                                                   )
                      Defendants.                  )

       The plaintiff, TowerCo 2013, LLC, (“TowerCo” or “plaintiff”) for its complaint, avers as

follows:

                                            I. PARTIES

       1.         Plaintiff, TowerCo 2013, LLC, is a foreign limited liability company registered

under the laws of the state of Delaware. Plaintiff is hereinafter referred to as “TowerCo.”

TowerCo is duly registered with the Ohio Secretary of State as a foreign limited liability company.

       2.         Defendant, Berlin Township Board of Trustees (“Board”), is the governing unit for

Berlin Township, Ohio (“Township”), which is a duly-organized township and political

subdivision under Title V of the Ohio Revised Code. Defendants function jointly for all purposes,

and the allegations contained herein, thus, apply equally to each.
  Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 2 of 20 PAGEID #: 2




                                        II. JURISDICTION

       3.      This Court has jurisdiction over this matter by virtue of 28 USC 1332 as the plaintiff

and defendants are residents of different states and the amount in controversy exceeds $75,000.

       4.      Further, this Court has jurisdiction over this matter pursuant to 28 USC 1331 as this

case involves matters arising under the federal Constitution and federal laws.

       5.      Venue is proper in this judicial district, inasmuch as the defendants are located and

operate within Delaware County, Ohio.

                                             III. FACTS

                                          THE PROJECT

       6.      TowerCo is engaged in the business of siting and building telecommunications

towers and facilities to service cellular telephone clients and customers, among others. TowerCo

is involved in all phases of such business, including the identification of appropriate sites,

acquisition of site interests and contracting for the construction of operational facilities.

       7.      On or about October 12, 2021, TowerCo entered into a Lease Agreement (“Lease”)

with the Oletangy Local School District Board of Education (“School District”), for construction

and deployment of a telecommunications tower (“Project”). An authentic copy of the parties’

Lease is attached hereto, marked as Exhibit A.

       8.      By way of the Lease, TowerCo obtained rights to use portions of the property

located at 3140 Berlin Station Road, Delaware, Ohio 43015, otherwise identified as Delaware

County Permanent Parcel No. 418-320-01-001-001, hereinafter the “Site.” As consideration,

TowerCo paid the School District an initial payment of $50,000, and a signing bonus in the amount

of $1,000 with monthly rent in the amount of $1,670 being paid thereafter, payments of which

commenced in November of 2021. See Exhibit A.



                                                   2
  Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 3 of 20 PAGEID #: 3




        9.      The tower would be developed entirely on property owned by a political

subdivision, the School District. Pursuant to R.C. 3313.17, the School District is a body politic

and corporate. See also R.C. 2744.01(F).

        10.     The Site, once developed, will be used for the deployment of a telecommunications

tower for use by federally-licensed wireless communications carriers providing personal wireless

communication service, including voice and data.

        11.     The subject Site was selected due to a significant gap in service coverage

experienced by Verizon, resulting in poor coverage, or no coverage, for most of the region in the

vicinity of the Site.

        12.     The Site would be located entirely on School District property, and the parcels

immediately adjacent to the Site are also owned by the School District.

        13.     The nearest residential structure is over 900 feet from the proposed Site.

        14.     Cell sites, such as the Site at issue, are integral to the provision of wireless

telecommunications services. To maintain reliable, uninterrupted personal communications

service, including voice and data, there must be a continuous interconnected series of cell sites

located within an interactive grid pattern. The Site procured by TowerCo is necessary to provide

such reliable and uninterrupted personal wireless communications service to the public.

        15.     The Federal Communications Commission (“FCC”) has expressly recognized that

wireless services are central to the economic, civic, and social lives of over 270 million Americans.

        16.     The Telecommunications Act of 1996 (“TCA”) was enacted with the objective of

opening-up markets to competition by removing regulatory barriers to entry. Thus, the TCA

functions by providing a pro-competitive, de-regulatory national policy framework designed to

accelerate rapidly private sector deployment of advanced information technologies and services to



                                                  3
  Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 4 of 20 PAGEID #: 4




all Americans by opening all telecommunications markets to competitors. Most-recently, the FCC

has recognized the objective of responding to rapidly increasing demand for wireless service and

preparation of the national infrastructure for 5G LTE, by the prompt deployment of additional

tower facilities and critical upgrades.

                              TOWERCO’S BUILDING PERMIT

       17.     On or about October 6, 2021, TowerCo issued a letter to the Township notifying

the Township that it issued letters to neighboring landowners per R.C. 519.211, as that is the

standard procedure for towers in residential areas when such towers are not located on property

owned by a government entity.

       18.     On October 20, 2021, the Township conducted a special meeting for purposes of

discussing the proposed TowerCo telecommunications tower. A true and accurate copy of the

minutes is attached hereto as Exhibit B. During the special meeting, the Township discussed their

concerns about the radio frequency emissions from the Project, which are not a permissible

consideration for local regulation of telecommunication towers.

       19.     Following the hearing on October 20, 2021, the Township issued a letter to

TowerCo stating that they wished to have a hearing due to health, welfare and safety concerns for

the Township. See Exhibit B.

       20.     Thereafter, TowerCo learned that as the Site was located on governmental property,

R.C. 519.211 was not strictly applicable so long as TowerCo made reasonable efforts to comply

with local zoning regulations.

       21.     On November 11, 2021, TowerCo, by way of counsel, issued a letter to the

Township explaining that the Project and Site had immunity pursuant to the doctrine set forth in




                                               4
  Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 5 of 20 PAGEID #: 5




Brownfield v. State of Ohio, 63 Ohio St.2d 282 (1990) and its progeny. A true and accurate copy

of the letter is attached hereto as Exhibit C.

       22.     The letter explained that as there had been reasonable efforts at compliance, and

the Project substantially complied with local zoning regulations, no further action was required by

TowerCo. See Exhibit C. The immunity extending to the Site and Project suspended any

obligation on plaintiff to follow any locally-prescribed procedures to obtain zoning approval.

Nevertheless, the letter concluded with a request for the Township to contact TowerCo so the two

entities could have a meeting to discuss working together to complete the Project.

       23.     By November 19, 2021, TowerCo had not received a response from the Township.

       24.     Therefore, on November 19, 2021, TowerCo sent a second letter stating that as

TowerCo had explained its immunity position, the TCA placed an obligation on the Township to

issue a timely response. Therefore, the letter stated that as TowerCo was ready to proceed with

construction, it required a written response no later than November 24, 2021. A true and accurate

copy of the letter is attached hereto as Exhibit D.

       25.     By December 9, 2021, the Township had not issued a response to either the

November 11, 2021 or November 19, 2021 letter.

       26.     On December 9, 2021, TowerCo submitted a building permit application to the

Delaware County Building Safety Department (“Building Department”). The application was

accompanied by a cover letter explaining that the TowerCo Project was immune or exempt from

zoning and that such exemption had been explained to the Township, with a response requested.

No response had been received, to which TowerCo believed was acquiescence. A copy of the

application is attached hereto as Exhibit E.




                                                  5
  Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 6 of 20 PAGEID #: 6




        27.     On December 27, 2021, the Building Department contacted TowerCo seeking

additional information for the application, to which TowerCo promptly responded.

        28.     The Building Department issued the Building Permit on January 10, 2022, a true

and accurate copy of which is attached hereto as Exhibit F.

              TOWERCO ERECTS THE TELECOMMUNICATIONS TOWER

        29.     Following the issuance of the January 10, 2022 Building Permit, TowerCo

promptly commenced construction of the Project.

        30.     The 199-foot telecommunications tower was erected by April 2, 2022.

        31.     All that remains to be completed is the fencing, equipment pads, landscaping, as

well as extending utilities to the Site.

        32.     To date, in addition to the payments issued to the School District, which amounts

to approximately $66,000 to date, TowerCo has expended approximately $375,000.00 on the

Project construction.

        33.     Once the Project is finalized, pursuant to the existing agreement between Verizon

and TowerCo, Verizon will immediately deploy its wireless services by way of the Project.

        34.     TowerCo does not begin receiving income from the Project until Verizon has the

capacity to deploy its wireless telecommunication services.

                 TOWNSHIP’S INTERFERENCE WITH CONSTRUCTION

        35.     The Township finally responded to TowerCo’s November 11, 2021 by of a

December 23, 2021 letter issued by the County Prosecutor via regular mail.

        36.     Although the letter was December 23, 2021, as it was sent by ordinary mail, it was

not received by TowerCo’s counsel until January 4, 2022. A true and accurate copy of the letter is

attached hereto Exhibit G.



                                                6
  Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 7 of 20 PAGEID #: 7




       37.     The Prosecutor’s December 23, 2021 letter – issued 42 days after TowerCo asserted

the Brownfield doctrine –conflated R.C. 519.211 utility immunity and the separate Brownfield

doctrine, and therefore incorrectly concluded that R.C. 519.211 is still applicable.

       38.     Less than a week later, the Building Department issued TowerCo a Building Permit,

presumably adopting TowerCo’s position that the Brownfield doctrine exempted TowerCo from

strict compliance with Township Zoning.

       39.     On May 9, 2022, four months after the Building Permit was issued, and over a

month after the Project tower was constructed, the Township issued a letter to the Building

Department asking the Building Department to rescind the Building Permit. A true and accurate

copy of the letter is attached as Exhibit H.

       40.     On May 17, 2022, in response to the Township’s letter, the Building Department

issued a Stop Work Order. A true and accurate copy of the Order is attached as Exhibit I. The

immunity for the Site and Project, triggered under the Brownfield doctrine, does not authorize such

action, rather, immunity is a purely justiciable question, if a challenge is timely presented.

       41.     The Stop Work Order was based upon the TowerCo application lacking formal

zoning approval from the Township. See Exhibit I.

       42.     Due to the Stop Work Order, TowerCo was unable to complete the fence and

landscaping, as well as finalize having all utilities extended to the Site.

       43.     On May 24, 2022, in response to the unlawful Stop Work Order, TowerCo issued

a letter to the Building Department demanding the Stop Work order be lifted. A true and accurate

copy of the letter is attached hereto as Exhibit J.

       44.     On May 28, 2022, the Building Department issued a letter in response, a true and

accurate copy of which is attached hereto as Exhibit K.



                                                      7
  Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 8 of 20 PAGEID #: 8




       45.     TowerCo responded by letter dated June 7, 2022, again reiterating that the Stop

Work Order was an unlawful deprivation of TowerCo’s property rights, due process rights, as well

as a violation of the TCA. A true and accurate copy of the letter is attached hereto on Exhibit L.

       46.     On June 10, 2022, the Building Department issued a letter to TowerCo agreeing to

lift the unlawful Stop Work Order. A copy of the letter is attached hereto as Exhibit M.

       47.     TowerCo promptly took action to re-commence construction which had been

unlawfully delayed since May 17, 2022. However, due to the uncertainty of the length of the stop-

work order, the contractors retained by TowerCo took on other jobs and therefore the work

necessary for TowerCo to deploy the tower was delayed.

                           TOWNSHIP COMMENCES LAWSUIT

       48.     On June 21, 2022, the Board commenced a state court action, along with a motion

for a temporary restraining order in Berlin Township Board of Trustees v. TowerCo 2013, LLC, et

al. Case No. 22CVH 06 0295, Delaware County Common Pleas Court (“the State Case”). A true

and accurate copy of the complaint is attached hereto as Exhibit N and a true and accurate copy of

the Motion for Temporary Restraining Order is attached hereto as Exhibit O.

       49.     In the complaint, the Board asserted a request for declaratory judgment as to

whether TowerCo is subject to R.C. 519.211, as well as subject to the Township’s zoning

regulations. The complaint also sought a preliminary and permanent injunction. See Exhibit N.

       50.     The Board’s motion for temporary restraining order, alleged that it is likely to

succeed on the merits primarily because TowerCo “conceded” it is subject to R.C. 519.211 by

issuing the letter on October 6, 2022, but does not contain any legal analysis for this point.

       51.     The Board’s motion also alleged that the Township will be irreparably harmed,

third parties will be harmed, and public interest served due to the Township’s efforts to prevent



                                                  8
  Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 9 of 20 PAGEID #: 9




radio frequency transmissions from harming the public, which is expressly in violation of the TCA.

See Exhibit O.

        52.      Following a hearing, on June 21, 2022, the Court granted a temporary restraining

order in favor of the Township, which was later continued. See Exhibits P and Q.

        53.      The injunction remains in place.

        54.      On July 13, 2022, TowerCo filed an answer and counterclaim in the State Case,

wherein the counterclaim contained federal causes of action. Also on July 13, 2022, TowerCo

sought to remove the lawsuit to the United States District Court, Southern District of Ohio.

        55.      On July 15, 2022, the parties reached an agreement whereby they agreed to a stay

to provide the parties the opportunity to try to resolve the dispute without further litigation. The

parties agreed to a voluntary 25-day stay. See Exhibit R.

        56.      On August 23, 2022, TowerCo elected to voluntarily dismiss the counterclaim and

determined that, if the State Case could not be resolved during the stay, it would pursue a direct,

separate federal action.

        57.      On August 29, 2022, the State Case was formally remanded to the Delaware County

Common Pleas Court.

        58.      As indicated above, from July 15, 2022 to August 30, 2022, the parties sought to

resolve the dispute without further Court intervention. However, on August 30, 2022, the

defendants stated they were unable to resolve the dispute unless the plaintiff removed the tower

and submitted a zoning application. See Exhibit S.

        59.      As the parties were unable to resolve the dispute without further Court intervention,

and the defendants expressed they intend to have the plaintiff remove its Project tower, this

litigation follows.



                                                    9
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 10 of 20 PAGEID #: 10




                                   IV. CLAIMS FOR RELIEF

                                        COUNT ONE
                            42 USC 1983 – Fifth Amendment Takings

       60.      TowerCo realleges the foregoing as if fully rewritten herein.

       61.      TowerCo has a lawful, vested property right which attaches to the Site and Project

by virtue of TowerCo’s Lease and the Building Permit issued by the Building Department.

       62.      TowerCo’s rights are protected by the Fifth Amendment of the United States

Constitution.

       63.      The Township’s conduct in interfering with TowerCo’s property rights by

compelling the Building Department to issue an unlawful Stop Work order, which was later

retracted, and in obtaining an injunction, constitutes a violation of TowerCo’s property rights as

protected by the Fifth Amendment of the United States Constitution.

       64.      The Township’s current conduct destroys TowerCo’s vested property interest in the

Project, either temporarily or permanently.

       65.      The Township’s conduct has infringed upon TowerCo’s fundamental property

rights to the point where there is no economically viable use for TowerCo’s vested property interest

in the Project, and such infringement is so severe as to constitute a total and/or partial regulatory

taking of the TowerCo property, either temporary or permanently.

       66.      TowerCo is entitled to declaration by this Court that the Township’s conduct is a

total and/or partial regulatory taking under the Fifth Amendment of the United States Constitution,

enforceable under 42 USC 1983, for which TowerCo is entitled to just compensation in an amount

greater than $450,000.00.




                                                 10
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 11 of 20 PAGEID #: 11




        67.     42 US. 1988 provides, in pertinent part, that “[i]n any action or proceedings to

enforce a provision of section[] . . . 1983 . . . of this title, . . . the court, in its discretion, may allow

the prevailing party, other than the United States, a reasonable attorney’s fee as part of the costs.”

        68.     As a direct and proximate result of the Township’s actions, TowerCo has sustained

damages on account of the unreasonable and unlawful delay and/or prohibition of its

telecommunications Project, and those damages continue to mount, for which TowerCo is entitled

to just compensation.

        69.     TowerCo requests this Court declare that the defendants’ actions violate 42 US.

1983 by depriving TowerCo of the rights, privileges, and immunities afforded to it by the Fifth

Amendment of the Constitution of the United States and law for its temporary or permanent

regulatory taking of TowerCo’s property interest. Further, this Court should award damages in

excess of $450,000.00, together with an award of reasonable attorney’s fees.

                                        COUNT TWO
                               Telecommunications Act – Section 332
                                      Shot Clock Violation

        70.     TowerCo realleges the foregoing as if fully rewritten herein.

        71.     To the extent a local governmental agency has lawfully adopted local zoning

regulations governing the placement of cellular telecommunications facilities under the limited

safe harbor provision of Section 332(c)(7) of the TCA, a local government is required to render

any decision under its regulations within a reasonable period of time, as set forth in Section

332(c)(7)(B)(ii). The reasonable period of time, or “shot clock” under the TCA, has been defined

by the FCC as a period of time not to exceed 150 days for a new macro facility, such as the Project.




                                                     11
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 12 of 20 PAGEID #: 12




       72.     The FCC has determined that the shot clock is tolled by time taken to supplement

an incomplete application only if the local authority notified the applicant within 30 days that more

information was needed. 24 FCC Rcd 13994, 2009 FCC LEXIS 5977, ¶74.

       73.     TowerCo notified the Township of its assertion of zoning immunity under the

Brownfield doctrine on November 11, 2021. In that letter, the plaintiff specifically asked for a

meeting so the Township and TowerCo could work together moving forward.

       74.     TowerCo issued a follow up letter on November 19, 2021, against requesting a

response from the Township.

       75.     After delivery of TowerCo’s November 11, 2021 letter, the Township failed to

respond to TowerCo’s notice of the Project within 30 days seeking additional information in

compliance with regulations. This was despite the fact that TowerCo issued the second letter on

November 19, 2021, expressly stating its intent to move forward with the building application

unless it had a response from the Township by November 24, 2021.

       76.     The only communication, or conduct of the Township, was the prosecutor’s

December 23, 2021 response, which was 42 days after the November 11, 2021 letter and did not

seek additional information regarding TowerCo’s Project.

       77.     The Township did not act again until May 9, 2022, 179 days after TowerCo’s

November 11, 2021 letter. Importantly, the May 9, 2022 correspondence was issued to the

Building Department, not TowerCo.

       78.     The Township did not take any action against TowerCo directly until June 21, 2022,

which is 222 days after TowerCo’s November 11, 2021 letter.




                                                 12
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 13 of 20 PAGEID #: 13




       79.     On August 30, 2022, over 260 days after the November 11, 2021 letter, the

Township stated it would not grant authority for the Township to proceed, and instead requested

the plaintiff to remove the existing tower.

       80.     This was well after the expiration of the shot clock for enforcement of any actual,

lawful and effective regulation that may have existed at the time of the Township’s notification of

the Project and requests.

       81.     Consequently, the Township’s May 9, 2022 letter, subsequent lawsuit against

TowerCo, and subsequent express refusal to grant authority to proceed with the Project, violated

the limited authority of Section 332(c)(7) of the TCA, inasmuch as TowerCo’s Project is presumed

authorized under any provisions of the Township’s regulations that may have existed at the time

of TowerCo’s notice and request for authorization on November 11, 2022.

       82.     TowerCo avers that it is entitled to a declaratory judgment, declaring and

determining that: (a) any action, policy, practice, or local regulation relied upon by the defendants

to deny TowerCo the use of the Site for deployment of its Project is barred under the TCA; and

(b) TowerCo is entitled to use, utilize and occupy the Site for purposes of constructing and

installing all necessary facilities and services for construction and deployment of the Project.

TowerCo avers that it is further entitled to an Order enjoining the Township from any further

interference with the construction and erection of the Project.

                                     COUNT THREE
                           Telecommunications Act – Section 332
      Effect of Prohibiting Wireless Communications Necessary for Gap in Coverage

       83.     TowerCo realleges the foregoing as if fully rewritten herein.




                                                 13
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 14 of 20 PAGEID #: 14




        84.     Pursuant to Section 332(c)(7)(B)(i)(II), any effort by a local government agency to

limit or regulate the placement and operation of cellular telecommunications facilities shall not

have the effect of prohibiting personal wireless services.

        85.     To the extent a local governmental agency has lawfully adopted local zoning

regulations governing the placement of cellular telecommunications facilities under the limited

safe harbor provision of Section 332(c)(7) of the TCA, a local government may not issue

regulations to the extent it prohibits, or has the effect of prohibiting, personal wireless

telecommunications services.

        86.     The Sixth Circuit has recognized that the denial of the request for authorization may

constitute a violation of Section 332(c)(7)(B)(i)(II) where a wireless provider can demonstrate a

gap in coverage and the proposed location was the most feasible for coverage needs.

        87.     The Township’s failure to timely respond to TowerCo’s November 11, 2021

request for authorization, and subsequent attempts to block the deployment of the tower by way

of compelling the Building Department to issue a stop-work order and seeking an injunction,

amounts to conduct which has the effect of prohibiting personal telecommunication services.

        88.     TowerCo avers that it is entitled to a declaratory judgment, declaring and

determining that: (a) any action, policy, practice, or local regulation relied upon by the Township

to deny TowerCo the use of the Site for deployment of its Project is barred under the TCA for

having the effect of prohibiting personal wireless telecommunications services; and (b) TowerCo

is entitled to use, utilize and occupy the Site for purposes of finalizing construction and installation

of all necessary facilities and services for construction and deployment of the Project. TowerCo

avers that it is further entitled to an Order enjoining the defendants from any further interference

with the construction and erection of the Project pursuant to the Building Permit.



                                                  14
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 15 of 20 PAGEID #: 15




                                       COUNT FOUR
                            Telecommunications Act – Section 332
                  Failure to Timely Deny Request with Substantial Evidence

       89.     TowerCo realleges the foregoing as if fully rewritten herein.

       90.     Pursuant to Section 332(c)(7)(B)(iii), any local government agency denial of a

request for authorization of the placement and operation of cellular telecommunications facilities

shall be in writing and be supported by substantial evidence contained in a written record.

       91.     The Sixth Circuit has determined that the failure to respond to a request for

authorization amounts to a function denial of said request in violation of the TCA.

       92.     The Township did not properly consider or timely respond to TowerCo’s request

for authorization dating back to November 11, 2021 and therefore implicitly denied the request

without properly issuing the written denial required by the TCA.

       93.     The Township’s representations on August 30, 2022 that the plaintiff would need

to remove the tower were an express denial. No substantive justification was provided.

       94.     The Township’s discussions on October 20, 2021 pertained only to concerns about

radio frequency emissions, which the TCA expressly prohibits from regulation by local agencies,

as set forth in Section 332(7)(B)(iv).

       95.     TowerCo avers that it is entitled to a declaratory judgment, declaring and

determining that: (a) any action, policy, practice, or local regulation relied upon by the Township

to deny TowerCo’s use of the Site for deployment of its Project is barred under the TCA as it was

not issued to TowerCo in writing and supported by substantial evidence; and (b) TowerCo is

entitled to use, utilize and occupy the Site for purposes of constructing and installing all necessary

facilities and services for construction and deployment of the Project. TowerCo avers that it is




                                                 15
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 16 of 20 PAGEID #: 16




further entitled to an Order enjoining the Township from any further interference with the

construction and erection of the Project pursuant to the Permit.

                                     COUNT FIVE
                            Telecommunications Act – Section 253

       96.     TowerCo realleges the foregoing as if fully rewritten herein.

       97.     The Township’s efforts to have the Building Department issue a Stop Work Order,

and to later seek an untimely injunction, have the effect of prohibiting TowerCo from utilizing its

Site, Building Permit and Project to provide interstate and intrastate telecommunications service.

       98.     Section 253(a) of the 1996 Act provides that:

               No State or local statute or regulation, or other State or local legal
               requirement, may prohibit or have the effect of prohibiting the ability of any
               entity to provide any interstate or intrastate telecommunications service.

       99.     The TCA was enacted precisely to promote higher quality telecommunications

services and to encourage rapid deployment of new telecommunications technologies and

facilities. One way of accomplishing these goals, and effectuating the intent of Congress, is

through the TCA provisions designed to reduce the impediments imposed by local governments

upon the siting and installation of telecommunications facilities such as towers.

       100.    While Section 253(c) of the TCA has preserved limited authority of a state or local

government, such matters are limited to the effective control of public roadway rights-of-way.

None of these matters of local control are implicated or adversely affected in this instance and,

thus, Section 253(c) does not apply.

       101.    The Township’s actions violate TowerCo’s federal statutory and constitutional

rights and will cause irreparable harm. In the absence of the Site construction and deployment,

existing gaps in coverage and lack of density and capacity in the networks of TowerCo’s wireless

providers will remain, to the detriment of the public.


                                                16
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 17 of 20 PAGEID #: 17




       102.      Further, the Township’s actions prohibit the TowerCo from siting and deploying a

telecommunications facility which is necessary to the provision of continuous and uninterrupted

service in the wireless networks of tenants/carriers, which interferes with the fulfillment of

federally endorsed and imposed obligations to provide personal wireless telecommunications

service under license.

       103.      The Township’s conduct violates Section 253 of the TCA.

       104.      Because the Township’s conduct, actions, inactions, policies or regulations, have

prohibited or threatened to prohibit TowerCo from lawfully using the Site for construction and

deployment of a telecommunications facility for use in interstate and intrastate commerce, a real,

substantial and justiciable controversy exists requiring this Court’s prompt resolution.

       105.      TowerCo avers that it is entitled to a declaratory judgment, declaring and

determining that: (a) any action, policy, practice, or local regulation relied upon by the Township

to deny TowerCo the use of the Site for deployment of its Project is preempted by the

comprehensive scope and express provisions of the TCA; and (b) TowerCo is entitled to use, utilize

and occupy the Site for purposes of constructing and installing all necessary facilities and services

for deployment of the Project. TowerCo avers that it is further entitled to an Order enjoining the

Township from any further interference with the construction and erection of the Project pursuant

to the Permit.

                                         COUNT SIX
                             Preliminary and Permanent Injunction

       106.      TowerCo realleges the foregoing as if fully rewritten herein.

       107.      As the Township is expected to interfere with TowerCo’s efforts to move forward

with its lawful construction of the Project, as well as any efforts to construct, place, install and

operate facilities and services at the Site, TowerCo is further entitled to the issuance of temporary


                                                 17
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 18 of 20 PAGEID #: 18




and permanent injunctive relief, restraining and prohibiting the Township, and those in privity,

from taking any action designed or intended to interfere with the Project which is the subject matter

of this action.

        108.      Injunctive relief is required in this action in order to prevent irreparable harm, loss

and damage to TowerCo’s rights and interests pertaining to the Project, and TowerCo avers that

the public interest will be served by the issuance of injunctive relief in favor of the Township in

this case.

                                   V. DEMAND FOR JUDGMENT

        WHEREFORE, the plaintiff, TowerCo 2013, LLC, hereby demands judgment against

Berlin Township, Ohio and the Berlin Township Board of Trustees, as follows:

        1.        A declaration and determination that TowerCo has a vested property right in its Site

and Permit; and

        2.        A declaration and determination that the Township’s efforts to prohibit TowerCo’s

finalization of construction and deployment of the Project amounts to an interference with

TowerCo’s vested property interest as protected by the Fifth Amendment of the United States

Constitution; and

        3.        Award TowerCo compensation and damages pursuant to 42 US. 1983; and

        4.        Award TowerCo the costs and expenses for this action, including reasonable

attorneys’ fees award in accordance with 42 USC 1988; and

        5.        A declaration and determination that the Township violated 47 USC

332(c)(7)(B)(i)(II) and, consequently, TowerCo is entitled to an injunction compelling the issuance

of authorization for the Project; and




                                                    18
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 19 of 20 PAGEID #: 19




       6.      A declaration and determination that the Township violated 47 USC

332(c)(7)(B)(ii) and, consequently, TowerCo is entitled to an injunction compelling the issuance

of authorization for the Project; and

       7.      A declaration and determination that the Township violated 47 U.S.C.

332(c)(7)(B)(iii) and , consequently, TowerCo is entitled to an injunction compelling the issuance

of authorization for the Project; and

       8.      A declaration and determination that the Township violated 47 U.S.C.

332(c)(7)(B)(iv) and , consequently, TowerCo is entitled to an injunction compelling the issuance

of authorization for the Project; and

       9.      A declaration and determination that the Township has exceeded its limited

authority as set forth under Section 253(a) of the TCA and, otherwise, is preempted by Section

253; and

       10.     An Order compelling the Township to promptly issue any and all necessary

authorization of the tower Project; and

       11.     An award of compensatory damages in excess of $450,00.00, interest, attorney’s

fees and costs; and

       12.     Judgment enjoining, restraining and prohibiting the Township, and those in privity

with the Township, from taking any action designed or intended to interfere with the Project which

is the subject matter of this action, particularly the construction and deployment of a

telecommunications tower and supporting facilities on the Site, pursuant to the Permit; and

       13.     Such other and different relief as the Court may deem just and appropriate.




                                               19
Case: 2:22-cv-03294-JLG-EPD Doc #: 1 Filed: 08/31/22 Page: 20 of 20 PAGEID #: 20




                                           Respectfully submitted,

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                                     JURY DEMAND
     A trial by jury is demanded herein on all issues presented to the Court.


                                           s/ Tonya J. Rogers
                                           James F. Mathews
                                           Tonya J. Rogers
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                                  PROOF OF SERVICE

     I hereby certify that on August 31, 2022, a copy of the foregoing was emailed to:

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